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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 ELISA W., et al.,

                Plaintiffs,

        vs.
                                                      Case No. 1:15-cv-05273-JAV-SLC
 CITY OF NEW YORK, et al.,

                Defendants.


                         MOTION TO WITHDRAW AS ATTORNEY

       Cara Chomski moves this Court pursuant to Local Rule 1.4 for an order granting me

permission to withdraw as counsel for Defendants the New York State Office of Children and

Family Services and Sheila J. Poole, in her official capacity as Acting Commissioner of the New

York State Office of Children and Family Services (together, “State Defendants”), in the above-

captioned action. The reason for this Motion to Withdraw is that I am no longer employed by the

New York State Office of the Attorney General. Members of the New York State Office of the

Attorney General will continue to serve as the attorneys of record in this matter and will continue

representing State Defendants as counsel in this matter. A retaining or charging lien is not being

asserted.

Dated: April 14, 2025
       New York, New York
                                              Respectfully submitted,

                                              /s/ Cara Chomski
                                              Cara B. Chomski
                                              Trial Attorney
                                              U.S. Equal Employment Opportunity Commission
                                              New York District Office
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